Case 2:3

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9-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Pagei1of28 Page ID #:1951

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

ANGELICA R. UNTALAN,

Plaintiff,
%
WARREN A. STANLEY, et al.,
Defendants.

 

 

 

2:19-cv-07599 ODW (JEMx)

DEFENDANTS’ OPPOSITION TO
PLAINTIFF’S MOTION FOR

PARTIAL SUMMARY
JUDGMENT

Date: January 25, 2021
Time: 1:30 p.m.

Courtroom: 5D

Judge: Hon. Otis D. Wright, I

Trial Date: = March 16, 2021
Action Filed: September 6, 2019

 
Case 2:19-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 2of28 Page ID #:1952

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INTRODUCTION
STATEMENT OF FACTS

CHP’s Impound Policy 0... ee eeceeeeseeeteeeereeenteeeeneeeesteeeteeensees
| B. = The Incident in This Case .......ccccccccccsscccecssseeessseeeeesssseessaees
ARGUMENT suomi owner aR:
I. Plaintiff's Motion for Partial Summary Judgment as to Her
Second Cause of Action Should Be Denied Because None of the
Individual Defendants Violated Her Fourth Amendment Rights ..
A. — The Individual Defendants Cannot Be Held Liable for the
Alleged Unconstitutional Actions of Others... eee
B. None of the Defendants Violated Plaintiff's Fourth
Amendment Rights... ccccccccceecseeeeeeeeeectsseeeeseseeeesseeeees
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I. Plaintiff's Motion for Partial Summary Judgment as to Her.
Second Cause of Action Should Be Denied Based On Qualified
Immunity Because Defendants Did Not Violate Clearly
Established Law......cccccsccsecssscsesssesssescnsessescsseeessescsseeeeeseseeeeas
A. The Law Is Not Clearly Established That a Thirty Day
Impound Pursuant to Vehicle Code Section 14602.6
Violates the Fourth Amendment...........cccccccseeessseeesseseseeenes
B. The Present Case Is Not “Squarely Governed” by the
Decisions in Brewster and SaANdOVAI ...ccccccccccessceesseesseessneees
CONCLUSION snonennoueeneenmerenemennt uenememmnnnemermaiinaiien

TABLE OF CONTENTS

A. California Vehicle Code Sections 14602.6 and 22852 and

 
Case 2:1)9-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 3of28 Page ID #:1953

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TABLE OF AUTHORITIES

Page
CASES
Ahlers v. Rabinowitz
en Pe fe ee 22 eee coeeeencee eee 18
Ali v. Ramsdell
* AQS F.3d B10 (8th Cir, 2005) .....ccsmcenencenaserecoarceensanensnnteananescenaneanenenmnayansenanennennens 18
Ashcroft v. al-Kidd
563 U.S. 731 (2011)... isecesesseosstserssstesectensneseessssnessadsssersslieesseneesencenes 13,14, 19
Ashcroft v. Iqbal
556 US, 662 (2009 )escicsnerseremmensie emma enema 1, 6, 12, 13, 14, 20
Brewster v. Beck
859 F.3d 1194 (9th Cir, 2017) vee iecesessecseesseseeeeceeeseetecesesseesseeeseeseseees passim
Brower v. County of Inyo
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California v. Hodari D.
+ AGO UU S< 621 (1 99] svetvesnesso snp enananmnmaqemnnersmurennnTENIAE IN Kia sdoderaienneenee 15
Case v. Eslinger
555 F.3d 1317 (11th Cir. 2009) oo. ccccssscssecessecsseeccsecccsesessseesesaeeessseseesessseeess 19
City & Cty. of San Francisco, Calif. v. Sheehan
BS (ot, Neg (P09 04k nero romero emeennanenennsEeEEeeeReeemence cen: 8, 16
City of Escondido v. Emmons
139 8. Gt, 300 (2019) eccncacsensnceumnsaemnnnvamseeeeeaes wi NT RAIGIASTiiiaatbendeantearernarcnnnnr 19
G ity of West Covina v. Perkins
S25 U.S. 234 (1999) i ecceereceseceeeeeteeeseeeeseseseeseesseseeessectsesenseetsuesesesentsnseersuay 16
Davis v. Scherer
© 468. US: LBS (1984 sever sccssnesncamsasuxeemnvsensnaneumanevnieneesnraceeveeeeneevanweaasacaeiscenannenenee 14
DeNault v. Ahem
857 F.3d 76 (1st Cir, 2017) ...eccccecccccsscesseeesseesssesesseeccsessseseeseeectseseeersseeresenseteeens 18

i

 
Case 2:119-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 4of28 Page ID #:1954

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Se Fe Co OD Oo HN DB NH BR W PPO

24
25
26
27
28

 

TABLE OF AUTHORITIES

(continued)
| Page
Fox v. Van Oosterum
LV6 Foe 242060 Cir, TOF) cssssrsnsmessaaenanaicanaimssesneccanee vey iene Fessiak@inisensnnesinement 18
Gilmore v. City of Minneapolis
837 F.3d 827 (8th Cir, 2016) cc eeesessessscessssetssssesssecssesessessseecesesensersesssssseenvaes 19
Gonzalez v. Village of West Milwaukee
Rel Hee eee) (PEON. 0 1 once yaar rere meen araememereemsnoncmmoemenemeee 18
Jessop v. City of Fresno
O36 BSd 937 (Ole Cite 2OTS): sissrscivaneransntncnteanntnnnnnicteantnnumnsuivesnnommnnmeneuonnmennienrssns 18
Kisela v. Hughes
138 S. Ct. 1148 (2018) oe ccccesecseeesecsesessssessesseeseeeecsesesatessuesseseneesussssees 19
Lee v. City of Chicago
SOULE SOAS6 CH Cit, 2003) crecnnanemanrnnesunssns cuaseuaauanieeaneut eis eieGnNGAtEladiaetenteteteoss 18
Miranda v. City of Cornelius
429 F.3d 858 (9th Cir, 2005) oe eccecessescssssessessvesseesseesersseetenereeesaenenensnsnenesseeaeee 7
Mitchell v. Forsyth
AT2 U.S. SLL (1985) cc ceccesecccnesnsersecsseeseessuesssseseseseeecssesseesesssesuseetssasaeey 14
Pearson v. Callahan
© 555 U.S. 223 (2009) .cecccccccssesssseessecsssesssressussssessssesressssessssesssessiessiessvesssesseseseeeesses 14
Reichle v. Howards
366 US: 638 (O12) oo .:nieccsnencannneennmeasieencnncnantiananurreremaciaawencemeniunnauencanraneneens 14
Sandoval yv. Cty. of Sonoma
912 F.3d 509 (9th Cir, 2018) occ cccccccccsccssecsecssccsscsecssevssscsecsessssessesarenees passim
Shafer v. Cty. of Santa Barbara
808 Pod 1110 (Sth Gir, 200 7) szsssainzaarssaverncecerermeacaasanieisaneiaeei cadennnpnenncomtnmenmene 14
Shaul v. Cherry Valley-Springfield Central School District
363 F.3d 177 (2d Cir. 2004)... ccecsesessessecsecsecsecsscsecsecsecsesesessecsescssvassevsesreseeeas 18
Smith v. Santa Rosa Police Dep't
"1? Coa, AA BAG O02) on caccorssnes neenen meen cenceurersncesauaneneeaMeRUnRe NIN Geile bcdnamnre 3

 
Case 2:119-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page5of28 Page ID #:1955

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TABLE OF AUTHORITIES

(continued)
Page
Starr v. Baca
652 F.3d 1202 (9th Cir, 201 1) ssssssacessensensnnessarnccerpeencomnmnamnrieemyanaiaecinne-» IZ
Thompson v. Whitman
85 U.S. 457 (1873) eee ccceceseeeeseeeeeneeesseneeessseeeeesseeeeeeeeeeeeesesensasaeessaeeesenseeees 15,17
United States v. Cervantes
, POS Pd 1135 (Sth Cit: 2012) ccnsceusenucmeeenennmnemncenenemeienaiacn 7
Ward v. San Diego County
791 F.2e4 1329 (9th Cir, 1986) .......cnassesomenssansteennnecepeseuunenarnesnenasinnsacsansuncerensowens 19
White v. Pauly
137 S. Ct. S48 (2017) .ceeeeeceeccsececeseereseeeeessecceseeecsseeccsessssessseeceseeessueesssesersieeeas 20
Whren v. United States
SLT WSs B06 (1996) iesrssvcszensineonsas venaaamansaesstacenesaneueswemmenmeennenceyeneeiaavinaversnennenanee 8
STATUTES
42 US.C. .
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California Vehicle Code
§ 14602.6.....0... Fe ese SRS SER passim
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§ 22650... eeecceeesseeteesseeeessseeesssaeeessneeesesaeessesseeeseaseeeeesseeesssseseesseeseeseeeecesresevasseees 5
DE 2 rear rapa USAR NR Wan SRL rc eden cdenrnronndnrcnnicdne tren dinemmcdinemsomomemammnnes 2,3, 4,5, 9, 19
§ DOT LO. ceecceseeecseeessseeeeseeeesceeesseeeseesseseeecsescssssessseseesseseseecasecesseessseevessesrsasentees ae
CONSTITUTIONAL PROVISIONS
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Case 2:19-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 6éof28 Page ID #:1956

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INTRODUCTION

Plaintiff seeks partial summary judgment with respect to her second cause of
action pursuant to 42 U.S.C. section 1983 for unlawful seizure in violation of the
Fourth Amendment arising out of the impoundment of her vehicle for thirty days
pursuant to California Vehicle Code section 14602.6. Plaintiffs claim centers on
her allegation that she appeared at a California Highway Patrol (CHP) office two
days after her car was impounded demanding that it be released and her assertion
that the release was mandated by recent Ninth Circuit case law. But the
unidentified officers with whom plaintiff allegedly spoke that day are not
defendants in this lawsuit, and CHP is also not a defendant. The individual
defendants in this case cannot be held liable for the alleged unconstitutional actions
of other individuals or of CHP as an entity. Ashcroft v. Iqbal, 556 U.S. 662, 676
(2009). Accordingly, plaintiff's motion for partial summary judgment should be
denied because none of the defendants violated plaintiff's Fourth Amendment
rights with respect to the impoundment of plaintiff's vehicle as follows:

(1) Defendant Trinidad lawfully impounded plaintiff's vehicle
based on the “community caretaking doctrine,” and she had no further
involvement with plaintiff's vehicle thereafter;

(2) Defendant Vaughan had no involvement in any decision to release
plaintiffs vehicle after the impoundment and plaintiff did not personally
appear before Defendant Vaughan to recover her vehicle — rather, Defendant
Vaughan merely spoke with plaintiff's attorney via telephone and advised her
to schedule a vehicle storage hearing;

(3) Defendants Cochran and Zagorski released plaintiff's vehicle early
(before the expiration of the thirty-day impound period) following a vehicle
storage hearing; and

(4) Defendant Johnson approved the early release of plaintiffs vehicle,

and the letter from plaintiff's counsel after the vehicle was released and after

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9-CV-07599-ODW-JEM Document 99 Filed 01/04/21 Page 7 of28 Page ID #:1957

the expiration of the thirty-day impound period is unavailing.

In addition, defendants are entitled to qualified immunity with respect to
plaintiff's Fourth Amendment unlawful seizure claim because the law is not clearly
established that a thirty-day impound of plaintiff's vehicle under the circumstances
of this case violates the constitution. Therefore, defendants request that the court
deny plaintiff's motion for partial summary judgment as to her second cause of
action. |

STATEMENT OF FACTS

A. California Vehicle Code Sections 14602.6 and 22852 and CHP’s
Impound Policy

The California Legislature passed the Safe Streets Act of 1994 based on
findings that unlicensed drivers and drivers with suspended licenses are far more
likely than licensed drivers to cause fatal accidents and to inflict injuries and
property loss on innocent drivers. Cal. Veh. Code § 14607.4(b)-(e). An estimated
75 percent of all drivers whose driving privileges have been withdrawn continue to
drive. Cal. Veh. Code § 14607.4(e). As a result, the California Legislature
determined that it was “necessary and appropriate to take additional steps to
prevent unlicensed drivers from driving... .” Cal. Veh. Code § 14607.4(f). The
Legislature expressed “a critical interest” in taking all appropriate steps to protect
California residents from this danger. /d. This included the temporary
impoundment of vehicles driven by unlicensed drivers, or drivers whose licenses
were suspended for safety violations. Cal. Veh. Code § 14602.6.

Vehicle Code section 14602.6 authorizes a peace officer to impound a
vehicle for thirty days whenever that officer determines:

... that a person was driving a vehicle while his or her driving privilege

was suspended or revoked, driving a vehicle while his or her driving

 

 

___ | Defendants do not oppose plaintiffs motion for partial summary judgment
with respect to plaintiffs first cause of action.

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Case 2:1)9-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 8of28 Page ID #:1958

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privilege is restricted ... and the vehicle is not equipped with a
functioning, certified interlock device, or driving a vehicle without ever
having been issued a driver's license... .
Cal. Veh. Code § 14602.6(a)(1).
The process of taking custody of the vehicle — 1.e., the seizure of the vehicle
— must comply with the Fourth Amendment. Cal. Veh. Code § 22650.
Section 14602.6 provides that owners of impounded vehicles “shall be
provided the opportunity for a storage hearing .. . in accordance with Section
22852.” Cal. Veh. Code § 14602.6(b). The purpose of the hearing is to “determine

the validity of...the storage” or “consider any mitigating circumstances attendant to

-[] the storage.” Jd. The statute lists several conditions that trigger the immediate

release of the vehicle, including that the driver reinstated or acquired a valid
driver’s license and insurance. Cal. Veh. Code § 14602.6(d)(1). The fact that a
registered owner lacked actual knowledge that the driver did not have a valid
license is also a mitigating circumstance that supports early release. See Smith v.
Santa Rosa Police Dep't, 97 Cal. App. 4th 546, 549-550 (2002). Vehicle Code
section 22852 dictates that the request for a hearing be made within ten days of the
notice to the vehicle owner and that the hearing be conducted “within 48 hours of
the request, excluding weekends and holidays.” Cal. Veh. Code § 22852(b) and (c).
CHP’s impound policy tracks Vehicle Code sections 14602.6 and 22852 and
provides additional procedural guidance. Defendants’ Statement of Genuine Issues
of Material Fact and Additional Material Fact (DSF) No. 44.* The policy provides
that the appeal of a determination that the impound was found to be valid should be

made “through the departmental claims process on a CHP 287, Claims of $1,000 or

 

* Defendants’ evidence in opposition to plaintiff's motion for partial
summary judgment was also submitted in support of defendants’ motion for partial
summary Judgment. Dkt. Nos, 94-2 and 94-5. Rather than re-submit the same
evidence again, defendants refer to and incorporate by reference the previously
filed evidence in support of their motion for partial summary judgment in support
of their opposition to plaintiff's motion for partial summary judgment.

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Case 2:19-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page9of28 Page ID #:1959

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Less, or through the Victim Compensation and Government Claims Board
(VCGCB) if the claim is over $1,000.” DSF No. 58.
 B. The Incident in This Case

On May 12, 2019, CHP Officer Trinidad stopped a 2000 Pontiac Grand Am
registered to plaintiff near the intersection of Broadway and Rosecrans in Los
Angeles. DSF Nos. 1, 2, 45. Officer Trinidad determined that plaintiff did not
have a license and her driving privileges were suspended due to her failure to
appear on prior citations for driving without a license. DSF Nos. 3, 46. Officer
Trinidad issued a CHP 215 citation to plaintiff for a violation of Vehicle Code
section 26710 (defective windshield). DSF No. 12. Officer Trinidad also directed
that plaintiff's vehicle be seized and impounded for thirty days pursuant to
California Vehicle Code section 14602.6. DSF No. 4. There was no licensed
driver available to drive plaintiff's vehicle away from the location where it was
stopped, plaintiff's vehicle was blocking traffic, and Officer Trinidad believed that
plaintiff's vehicle was in a high-crime area potentially exposing the vehicle to theft
or vandalism if left unattended. DSF Nos. 47-49. After plaintiff's vehicle was
towed, Officer Trinidad had no further involvement with plaintiff's vehicle and no
role in any decisions regarding the release of plaintiff's vehicle. DSF No. 50.

A copy of the CHP 180 form (Notice of Stored Vehicle) was provided to
plaintiff. DSF No. 51. The reverse side of the form provides information for
requesting a hearing pursuant to Vehicle Code section 22852. Jd. Plaintiff testified
that she did not read the reverse side of the CHP 180 form provided to her. Id.

On or about May 17, 2019, plaintiff's counsel, Leah Gasser-Ordaz, spoke with
Sergeant Vaughan via telephone regarding the impound of plaintiffs vehicle. DSF
Nos. 17, 52. During that telephone call, Ms. Gasser-Ordaz asserted that per
Brewster, the refusal to release plaintiff's vehicle on May 14, 2019, was wrongful,
and Sergeant Vaughan stated he was aware of the Brewster decision but the case

did not apply to plaintiff's situation. DSF Nos. 18 and 19. Sergeant Vaughan also

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9-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 10 of 28 Page ID #:1960

advised Ms. Gasser-Ordaz to schedule a vehicle storage hearing in accordance with
Vehicle Code section 22852. DSF Nos. 20, 53.

On May 23, 2019, plaintiff appeared for a vehicle storage hearing pursuant
to California Vehicle Code section 22852 before Lieutenant Cochran and
Lieutenant Zagorski. DSF Nos. 21, 54. Plaintiff's vehicle was released at the
conclusion of the vehicle storage hearing — before the expiration of the thirty-day
impound period. DSF Nos. 26, 55. As a condition of the release, plaintiffs
cenieel agreed that she would not allow plaintiff to drive the vehicle for the
remainder of the thirty days unless plaintiff obtained a valid license during that
time. DSF Nos. 26, 32.

On May: 23, 2019, Captain Johnson approved the Vehicle Storage Hearing
Report in which it was noted that plaintiff's vehicle was released early. DSF Nos.
35, 36, 56.

On or about June 19, 2019, plaintiff's attorney sent a letter to Captain
Johnson in which she claimed that plaintiff had offered to pay accrued storage
charges and had a licensed driver to pick up her vehicle on May 14, 2019, and that
under Brewster v. Beck, 859 F.3d 1194 (9th Cir. 2017), plaintiff's vehicle should
have been released on that day. DSF No. 37. Captain Johnson forwarded the letter
to CHP’s legal department. Jd.

On or about July 1, 2019 plaintiff's vehicle was sold at a lien sale. DSF No.
43.

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)-CV-07599-ODW-JEM Document 99 Filed 01/04/21 Page 11of28 Page ID #:1961

ARGUMENT
I. PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO HER
SECOND CAUSE OF ACTION SHOULD BE DENIED BECAUSE NONE OF THE
INDIVIDUAL DEFENDANTS VIOLATED HER FOURTH AMENDMENT
RIGHTS

A. The Individual Defendants Cannot Be Held Liable for the
Alleged Unconstitutional Actions of Others

Supreme Court precedent holds that liability may only be imposed based on a
defendant’s “own individual actions” that violate the constitution. [gbal, 556 U.S.
at 676. Plaintiff's Fourth Amendment unlawful seizure claim hinges on her
allegation that she went to a CHP office with a licensed driver to retrieve her
vehicle on May 14, 2019 — two days after it was impounded — and unidentified
“CHP personnel” refused to release the vehicle to her. DSF Nos. 15, 16. Plaintiff
also mentions a telephone call between her attorney and CHP employee Ms. Moore.
DSF No. 18. Plaintiff's allegations in this regard initially fail because they are
based on inadmissible evidence. DSF Nos. 15, 16, 17; Objections to Evidence Nos.
1-7, 9-13. But, more importantly, plaintiff does not assert that any of the
defendants named in this lawsuit were involved in the alleged May 14 encounter
(DSF Nos. 15, 16), and Ms. Moore is not a defendant in this case. Defendants
cannot be held liable for the alleged unconstitutional actions of others; rather,
plaintiff must demonstrate that each individual defendant violated her constitutional

rights. As set forth below, plaintiff has failed to meet her burden of proof.

B. none of the Defendants Violated Plaintiff's Fourth Amendment
ights .

None of the defendants violated plaintiff's Fourth Amendment rights;
therefore, plaintiff's motion should be denied.
1. Officer Trinidad
Plaintiff's motion for partial summary judgment as to Officer Trinidad with

respect to plaintiffs unlawful seizure claim should be denied because the

 

community caretaking exception to a warrantless seizure applied, and Officer

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Case 2:19

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-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 12 of28 Page ID #:1962

Trinidad had no further involvement regarding plaintif? s vehicle after the initial
impound. The community caretaking doctrine is an exception to the Fourth
Amendment’s warrant requirement for the seizure of a vehicle. United States v.
Cervantes, 703 F.3d 1135, 1141 (9th Cir. 2012). “In their ‘community caretaking’
function, police officers may impound vehicles that ‘jeopardize public safety and
the efficient movement of vehicular traffic.” Miranda v. City of Cornelius, 429
F.3d 858, 864 (9th Cir. 2005). Accordingly, an officer may impound a vehicle
without a warrant if the vehicle’s location creates “a hazard to other drivers” or
makes it “a target for vandalism or theft.” Jd.

After Officer Trinidad stopped plaintiff's vehicle, she learned that plaintiff
was unlicensed and had prior citations for driving without a license. DSF Nos. 3,
46. Accordingly, plaintiff could not lawfully continue to drive her vehicle, and
there was no licensed driver able to drive the vehicle from its location. DSF No.
47. In addition, the vehicle could not be left where it was because it was blocking
traffic, and Officer Trinidad believed that the vehicle was in a high-crime area
which would potentially expose plaintiffs vehicle to theft or vandalism if left
unattended. DSF Nos. 48, 49. The Brewster and Sandoval decisions did not hold
that Vehicle Code section 14602.6 violates the Fourth Amendment or that vehicles
could not be seized and removed from the street pursuant to Vehicle Code section
14602.6. Accordingly, Officer Trinidad’s seizure of plaintiff's vehicle was lawful
under the Fourth Amendment pursuant to the community caretaking doctrine.
Miranda, 429. F.3d at 864.

Plaintiff's argument that Officer Trinidad did not follow the CHP — South Los
Angeles Area Office Standard Operating Procedure (SOP) is unavailing. The SOP
provides that an officer who impounds a vehicle pursuant to Vehicle Code section
14602.6 shall cite the driver based on one of various statutes for driving without a
valid license. DSF Nos. 24, 30, 39. Although Officer Trinidad impounded

plaintiff's vehicle pursuant to Vehicle Code section 14602.6 because her driving

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)-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 13 of 28 Page ID #:1963

privileges were suspended (DSF Nos. 3, 46), the citation issued to plaintiff was
based on her cracked windshield. DSF No. 12. A Fourth Amendment claim cannot
be based upon violation of police department policy; the pertinent issue is whether
the officer’s actions were in accord with the Fourth Amendment objective
reasonableness test, not whether it violated police department rules, regulations, or
guidelines. Whren dé United States, 517 U.S. 806, 815 (1996) (““[P]olice
enforcement practices, even if they could be practicably assessed by a judge, vary
from place to place and from time to time. We cannot accept that the search and
seizure protections of the Fourth Amendment are so variable.”); see also, City and
Cty. of San Francisco, Calif. v. Sheehan, 135 8. Ct. 1765, 1777 (2015) (fact officer
acted contrary to her training will not negate officer’s qualified immunity). Since
CHP’s SOP does not set Fourth Amendment standards, the fact that Officer

_ Trinidad did not comply with the SOP by giving plaintiff a break and citing her for
a less serious offense is of no consequence.

Importantly, after the vehicle was initially seized, Officer Trinidad had no
further involvement with plaintiff's vehicle or with any decisions regarding the
release of plaintiff's vehicle. DSF No. 50. Thus, even assuming that Brewster and
Sandoval govern this case, Officer Trinidad did not violate the Fourth Amendment
with respect to the seizure of plaintiff's vehicle because she was not involved in any
decisions regarding the release of plaintiffs vehicle after it was lawfully seized.
Therefore, plaintiff's motion for partial summary judgment with respect to Officer
Trinidad should be denied.

2. Sergeant Vaughan

Plaintiff's motion for partial summary judgment as to Sergeant Vaughan
should be denied because the uncontroverted facts establish that Sergeant Vaughan
had no involvement in any decisions regarding the release of plaintiff's vehicle.

Rather, Sergeant Vaughan’s only involvement in this matter was a telephone

 

conversation with plaintiff's attorney during which he advised that plaintiff should

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B-CV-07599-ODW-JEM Document 99 Filed 01/04/21 Page 14 of 28 Page ID #:1964

schedule a vehicle storage hearing in accordance with Vehicle Code section 22852.
DSF Nos. 17, 20, 52, 53. Plaintiff did not personally appear before Sergeant
Vaughan with a licensed driver seeking the return of her vehicle; thus, the
telephone call with plaintiff's counsel was not an occasion for Sergeant Vaughan to
release plaintiffs vehicle. See Brewster, 859 F.3d at 1196 (“[T]he exigency that
justified the seizure vanished once the vehicle arrived in impound and Brewster
showed up with proof of ownership and a valid driver's license.”) Accordingly,
even assuming that Brewster and Sandoval govern this case, Sergeant Vaughan did
not violate the Fourth Amendment with respect to plaintiff's vehicle because he
was not involved in any decisions regarding the release of plaintiffs vehicle.
3. Lieutenant Cochran

Plaintiff's motion for partial summary judgment as to Lieutenant Cochran
should be denied because the uncontroverted facts establish that Lieutenant
Cochran released plaintiff's vehicle after a vehicle storage hearing. Lieutenant
Cochran conducted the storage hearing on May 23, 2019. DSF Nos. 21, 54. At the
conclusion of the hearing, Lieutenant Cochran released plaintiff's vehicle — before
the expiration of the thirty-day impound period. DSF Nos. 26, 32,55. The release
was conditioned on plaintiffs counsel’s agreement that she would not allow
plaintiff to drive the vehicle for the remainder of the thirty days unless plaintiff
obtained a valid license during that time. DSF Nos. 26, 32. The Brewster and
Sandoval decisions did not hold that a vehicle must be wnconditionally released in
order to comply with the Fourth Amendment. Thus, even assuming that Brewster
and Sandoval govern this case, Lieutenant Cochran did not violate the Fourth
Amendment with respect to plaintiff's vehicle because he released it to her on his
first and only occasion to do so.

4. Lieutenant Zagorski

Lieutenant Zagorski is entitled to judgment in his favor as to plaintiff's Second

 

Cause of Action pursuant to 42 U.S.C. section 1983 based on unlawful vehicle

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D-CV-07599-ODW-JEM Document 99 Filed 01/04/21 Page 15 of 28 Page ID #:1965

impound because the uncontroverted facts establish that Lieutenant Zagorski did
not prevent the release of plaintiff's vehicle after a vehicle storage hearing.
Lieutenant Zagorski attended the vehicle storage hearing conducted by Lieutenant
Cochran on May 23, 2020. DSF No. 28. At the conclusion of the hearing,
plaintiff's vehicle was released before the expiration of the thirty-day impound
period. DSF Nos. 26, 32, 55. Thus, even assuming that Brewster and Sandoval
govern this case, Lieutenant Zagorski did not violate the Fourth Amendment with
respect to plaintiffs vehicle.
5. Captain Johnson

Captain Johnson is entitled to judgment in his favor as to plaintiff's Second
Cause of Action pursuant to 42 U.S.C. section 1983 based on unlawful vehicle
impound because the uncontroverted facts establish that Captain Johnson approved
the release of plaintiff's vehicle before the expiration of the thirty-day impound
period after a vehicle storage hearing. DSF Nos. 35, 36, 56. .

Plaintiff s contention that Captain Johnson knew about the Brewster decision
“and its impact” (Dkt. No. 97, p. 15:25-26) on the situation in this case is specious.
Plaintiff misleadingly asserts that Captain Johnson knew “that the circumstances of
[plaintiff s| impound were like those in Brewster.” Dkt. No. 97, pp. 15:26-16:1.
This contention is based on a mischaracterization of Captain Johnson’s deposition
testimony. DSF Nos. 35-37. Plaintiffs assertion is based aH the following
deposition questions and answers:

Q Captain, have you ever heard of a decision called Brewster versus

Beck? It may have been referred to in the June 2019 letter.

A Yes. Yeah. The LAPD case?

Q Correct.

A Correct.

Q So I take it probably you first heard about the case probably when you

 

saw that letter; would that be fair?

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A Yeah, I think I -- I think we heard about it when the decision came
down. I don't know when it was. Yeah, when I saw the letter, it did
refresh my memory.
Q Yeah. I mean, the decision came down, by the way, in, I think, June
27th of 2017.

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Q Okay. How would you have heard about the decision?
A I think I was talking to one of my colleagues about it. I can’t remember
specifically where I was or when it happened.
Q Okay. I mean --
A The LAPD or somebody hit somebody with a car or something like
that?
Q Yeah. Basically, it was a 14602.6 impound and the registered owner,
her brother-in-law was driving the car with a suspended license. LAPD
stops. They do the .6 impound. Two, three days later, the registered
owner came to the LAPD said, “I’m licensed. I’ll pay the fees. Let me
have my car back.” LAPD said, “No, it’s a 30-day impound.” And the
Ninth Circuit ruling was that, well, once the owner showed -- registered
owner showed up offering all the fees, basically, you had to give the car
back.
A Right.
Q Anyway. That's basically a shorthand description of the case. Does that
sound roughly familiar?

A Yeah, that sounds roughly familiar, correct.

Plaintiff's Exhibit D (Johnson Depo., pp. 121:8-122:14). Plaintiff mischaracterizes
this testimony as establishing that Captain Johnson knew the holding and impact of
Brewster on the situation in this case. First, the situation in this case is not as

described by counsel —1.e., unlike in Brewster, the registered owner and driver in

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this case are the same person. Second, Captain Johnson’s response that the
description by plaintiffs counsel “sounds roughly familiar” is a far cry from a
statement that Captain Johnson understood “the impact” of the Brewster decision
on plaintiff's situation.

Plaintiff also falsely implies that Captain Johnson knew on May 23, 2019,
when he approved the CHP 422B form (Storage Hearing Report) that plaintiff had
allegedly come to the CHP office with a licensed driver on May 14, 2019, to
retrieve her vehicle. DSF Nos. 35, 37. As plaintiff points out, however, the only
information available to Captain Johnson was the information contained in the CHP
422B form and the supporting documents that included the citation to plaintiff, the
CHP 180 form, a memorandum correcting the CHP 180 form, and plaintiffs
driving history. DSF No. 36. None of those documents have any information
about plaintiffs alleged visit to the CHP office on May 14. Plaintiff's Exhibits I, J,
and K.

Plaintiff's argument that Captain Johnson violated plaintiff's Fourth
Amendment rights because he received a letter from plaintiffs attorney alleging
that the impound of plaintiff's vehicle was unlawful is unavailing. Supervisory
officials may not be sued under 42 U.S.C. section 1983 solely on the basis of their
position as a supervisory government official; supervisory officials can only be
sued under section 1983 based upon their own wrongful behavior. /gbal, 556 U.S.
at 677. “A defendant may be held liable as a supervisor under § 1983 ‘if there
exists either (1) his or her personal involvement in the constitutional deprivation, or
(2) a sufficient causal connection between the supervisor’s wrongful conduct and
the constitutional violation.” Starr v. Baca, 652 F.3d 1202, 1207 (9th Cir. 2011)
(quoting Hansen v. Black, 885 F.2d 642, 646 (9th Cir. 1989). “[A] plaintiff must
show the supervisor breached a duty to plaintiff which was the proximate cause of
the injury.” Jd. Here, plaintiff's attorney sent a letter to Captain Johnson dated June

19, 2019 — nearly four weeks after plaintiff's vehicle was released on May 23 and

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Case 2:19-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 18 of 28 Page ID #:1968

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after the thirty-day impound period had expired.? DSF No. 37. As this court
already noted, simply because plaintiffs counsel mailed a letter to Captain Johnson
weeks after the vehicle was released does not mean that Captain Johnson “was
‘informed’ [plaintiff's] vehicle was wrongfully impounded.” Dkt. No. 75, p. 7:10-
20.

Plaintiff offers no authority to support her argument that Captain Johnson
should be held liable for the alleged constitutional violation of a subordinate based
on the fact that plaintiffs attorney wrote him a letter advising him of the alleged
violation after the fact. Indeed, plaintiff's proposed rule directly contradicts the
authority holding that there is no respondeat superior supervisor liability and would
make every supervisory official vicariously liable for the alleged unconstitutional
conduct ofa subordinate by simply learning about the conduct after the fact — this is
not the law. Iqbal, 556 U.S. at 676.

Thus, even assuming that Brewster and Sandoval govern this case, Captain

Johnson did not violate plaintiff's Fourth Amendment rights.

I]. PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO HER
SECOND CAUSE OF ACTION SHOULD BE DENIED BASED ON QUALIFIED
IMMUNITY BECAUSE DEFENDANTS DID NOT VIOLATE CLEARLY
ESTABLISHED LAW
A. The Law Is Not Clearly Established That a Thirty Day Impound

Pursuant to Vehicle Code Section 14602.6 Violates the Fourth
Amendment
The doctrine of qualified immunity shields a government official from liability

for monetary damages unless the plaintiff establishes ‘(1) that the official violated a

statutory or constitutional right, and (2) that the right was ‘clearly established’ at

the time of the challenged conduct.” Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011)

(citing Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). Courts have the discretion

 

* Plaintiff's cite to nothing in CHP’s policy that would permit Captain
Johnson to take action at this point — after the vehicle was released and after the
thirty-day impound period had expired. Rather, the policy provides — and plaintiff
was advised at the vehicle storage hearing — that the remedy was to file a
government claim. DSF No. 58.

 
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to decide which prong of this analysis to address first under the circumstances of a
particular case. Pearson v. Callahan, 555 U.S. 223, 236 (2009). A decision in the
defendant’s favor on either prong establishes qualified immunity, even without
consideration of the other prong. See Reichle v. Howards, 566 U.S. 658, 663 |
(2012); Shafer v. Cty. of Santa Barbara, 868 F.3d 1110, 1115 (9th Cir. 2017), cert.
denied sub nom. Shafer v. Padilla, 138 S. Ct. 2582 (2018).

Qualified immunity grants officials “breathing room to make reasonable but
mistaken judgments about open legal questions” and “properly applied, it protects
all but the plainly incompetent or those who knowingly violate the law.” al-Kidd,
563 U.S. at 743. The purpose of qualified immunity is to ensure public officials
will not be unduly hampered by fear of lawsuits when carrying out their duties to
the public, and that peace officers in particular will not always err on the side of
caution for fear of being held financially liable. Mitchell v. Forsyth, 472 U.S. 511,
526 (1985); Davis v. Scherer, 468 U.S. 183, 196 (1984). Qualified immunity
accomplishes these objectives by serving as “both a defense to liability and limited
‘entitlement not to stand trial or face the other burdens of litigation.’” Ashcroft v.
Iqbal, 556 U.S. 662, 672 (2009).

To determine whether a right was “clearly established,” a right must be
established “in a ‘particularized’ sense so that the ‘contours’ of the right are clear to
a reasonable official.” Reichle, 566 U.S. at 665 (quoting Anderson v. Creighton,
483 U.S. 635, 640 (1987)). For that to be true, “existing precedent must have
placed the . . . constitutional question beyond debate.” Jd. (citation omitted). This
requires either “controlling authority” or ‘““a robust ‘consensus of cases of
persuasive authority’” establishing that the official’s conduct was unconstitutional.
al-Kidd, 563 U.S. at 741-742 (quoting Wilson v. Layne, 526 U.S. 603, 617 (1999)).
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Case 2:19/cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 20 of 28 Page ID #:1970

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The law is not clearly established that the impoundment of plaintiffs vehicle
under the circumstances in this case was unconstitutional.’ First, there is no United
States Supreme Court authority that directly addresses the issue in this case.
Instead, the existing Supreme Court precedent indicates the continued possession of
property after a lawful seizure is subject only to due process considerations. The
Supreme Court explained that a seizure is the singular event of taking possession or
control, as distinguished from the subsequent possession or control of that property:

From the time of the founding to the present, the word ‘seizure’ has

meant a ‘taking possession’ 2 N. Webster, An American Dictionary of

the English Language 67 (1828); 2 J. Bouvier, A Law Dictionary 510

(6th ed. 1856); Webster’s Third New International Dictionary 2057

(1981). .

California v. Hodari D., 499 U.S. 621, 624 (1991) (“seizure” equated with
“actually bringing it within physical control.”); see also Brower v. County of Inyo,
489 U.S. 593, 596 (1989) (defining seizure as “an intentional acquisition of
physical control’).

While Hodari D. and Brower addressed the seizure of a person, Hodari D.
cited Thompson v. Whitman, 85 U.S. 457 (1873), which explained the distinction
between the seizure and possession of property. In Thompson, a New Jersey sheriff
seized a vessel for illegal clam and oyster raking pursuant to a state statute
authorizing seizure within his county. Jd. at 470. However, the sheriff initially
seized the vessel in New York waters and then brought it to New Jersey, arguing

that the seizure was continuous and thus became a seizure in New Jersey. Id. The

 

* Plaintiff erroneously asserts that CHP “recognizes that the law was clearly
established as of June 2017 when Brewster v. Beck was decided.” DSF No. 42;
Objections to Evidence Nos. 15-21. This assertion is based on inadmissible hearsay
email messages by one CHP employee sent after this lawsuit was filed. /d. Since
the evidence upon which this alleged fact is based is inadmissible, the alleged fact
is. disputed. /d. Moreover, the opinion of one CHP emplnyee does not establish
CHP policy and cannot retract the qualified immunity defense asserted by the
individual defendants in this case.

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Case 2:19-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 21o0f28 Page ID #:1971

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Supreme Court rejected the argument, holding that “seizure” only applied to the
initial act of taking possession: “A seizure is a single act, and not a continuous fact.
Possession, which follows seizure, is continuous.” /d. at 471.

Consistent with the finding that a seizure is a specific act, and not a state of
being, the Supreme Court evaluated the retention and disposition of lawfully seized
property under due process standards, while making no reference to the Fourth
Amendment in City of West Covina v. Perkins, 525 U.S. 234 (1999). In Perkins,
property had been lawfully seized, but was no longer needed for the criminal
investigation or prosecution. /d. at 236. In reviewing the due process standards
and requirements for returning the property, the Court never suggested that the
continued possession of the property after it was no longer needed as evidence had
become a Fourth Amendment violation. Jd. at 240-243. Thus, Supreme Court
precedent supports the argument that the continued possession of property that is
lawfully seized is governed by due process, not the Fourth Amendment.

Second, contrary to plaintiff's contention, the Ninth Circuit’s decision in
Brewster v. Beck, 859 F.3d 1194 (9th Cir. 2017), has not clearly established the law
on this issue. The Supreme Court recently emphasized that it has never held that a
single circuit court opinion — as opposed to a Supreme Court opinion — can clearly
establish the law for purposes of qualified immunity. City & Cty. of San Francisco,
Calif. v. Sheehan, 135 S. Ct. 1765, 1776 (2015). Moreover, the decision in
Brewster has been questioned in subsequent Ninth Circuit opinions, and, as such, is
not “clearly established.”

In Brewster, the court held that “the Fourth Amendment is implicated when a
vehicle is impounded under section 14602.6.” Id. at 1197. The parties in Brewster
agreed that the seizure was justified by the community caretaking doctrine at the
outset, but the court held that the Fourth Amendment required further justification
for the continued possession of the vehicle for thirty days. /d. at 1196, 1197. The
Ninth Circuit followed Brewster in Sandoval v. Cty. of Sonoma, 912 F.3d 509 (9th

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Cir. 2018), cert. denied sub nom. Cty. of Sonoma, California v. Sandoval, 140 S. Ct.
142 (2019), but with only two justices agreeing that the Fourth Amendment
govemed the issue of whether the continued possession of the impounded vehicle

was constitutional. /d. at 516-517, 521.

In his concurring opinion in Sandoval, Circuit Judge Watford (who was on the

panel in Brewster) stated:

I recognize that the Fourth Amendment analysis in this case is controlled

_ by Brewster v. Beck, 859 F.3d 1194 (9th Cir. 2017), a decision I joined.

After giving the matter further consideration, I am now of the view that
we reached the right result in Brewster but for the wrong reason.
California Vehicle Code § 14602.6 is constitutionally deficient not
because it runs afoul of the Fourth Amendment, as we held in Brewster,
but because the post-seizure hearing it affords does not comply with the

Due Process Clause of the Fourteenth Amendment.

Sandoval, 912 F.3d at 521 (J. Watford, concurring). In a more recent concurring

opinion Circuit Judge Smith stated:

Brewster’s reasoning appears to conflict with the Supreme Court’s
jurisprudence on Fourth Amendment seizures. The Court has defined a
seizure as “a single act, and not a continuous fact.” Thompson v.
Whitman, 85 U.S. (18 Wall.) 457, 471, 21 L.Ed. 897 (1873). ...

Whereas Brewster held that the Fourth Amendment continues to apply
after the government’s initial seizure of property, these Supreme Court
cases suggest that, once the government has taken possession of property,
a seizure is complete. It is “[p]ossession, which follows seizure, [that] is
continuous.” Thompson, 85 U.S. (18 Wall.) at 471.

Perhaps because of the Court’s case law, Brewster’s reasoning also
conflicts with that of several other circuits, which have concluded that the

Fourth Amendment provides protection only against the initial taking of

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-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 23 of 28 Page ID #:1973

property, not its continued retention. [Citations omitted. ]
Jessop v. City of Fresno, 936 F.3d 937, 943 (9th Cir. 2019) (J. Smith,
concurring). |

As described by Circuit Judge Smith in the Jessop case, the “robust consensus
of cases of persuasive authority” indicates that the Fourth Amendment is not
implicated by a continuing possession of lawfully seized property. All of the other
circuit courts that have addressed the issue have determined that a seizure under the
Fourth Amendment is limited to the taking of possession — the actual seizure of
person or property — and does not extend to the continued possession or custody
after a lawful seizure. In Lee v. City of Chicago, 330 F.3d 456 (7th Cir. 2003), the
Seventh Circuit held that the Fourth Amendment only applied to the seizure of
property, and, as long as the seizure itself was lawful, the Fourth Amendment did
not apply to the subsequent possession of property. In Lee, the plaintiffs car was
properly seized as evidence for a criminal proceeding, but was eventually no longer
needed. The plaintiff in Lee argued “the City’s refusal to return [plaintiff's] car ...
constituted an additional ‘seizure’ within the meaning of the Fourth Amendment.”
Id., 330 F.3d at 460. The Seventh Circuit held

[o]nce an individual has been meaningfully dispossessed, the seizure of

the property is complete, and once justified by probable cause, that

seizure is reasonable. The [Fourth] amendment then cannot be invoked

by the dispossessed owner to regain his property.
Id., at 466; see also Gonzalez v. Village of West Milwaukee, 671 F.3d 649, 660 (7th
Cir. 2012). A majority of circuit courts support the Seventh Circuit’s decision and
reasoning, holding that due process provides the constitutional protection for the
retention and return of lawfully seized property. DeNault v. Ahem, 857 F.3d 76, 84
(1st Cir. 2017); Shaul v. Cherry Valley-Springfield Central School District, 363
F.3d 177, 187 (2d Cir. 2004); Ahlers v. Rabinowitz, 684 F.3d 53, 62 (2d Gin, 2012);

 

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Fox v. Van Oosterum, 176 F.3d 342, 351, 352 (6th Cir. 1999); Ali v. Ramsdell, 423

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F.3d 810, 814 (8th Cir. 2005); Gilmore v. City of Minneapolis, 837 F.3d 827, 838
(8th Cir. 2016); Case v. Eslinger, 555 F.3d 1317, 1330-1331 (11th Cir. 2009).
Given the lack of controlling Supreme Court precedent, the uncertainty of the

Ninth Circuit precedent, and the overwhelming authority from other circuits in
opposition to Brewster, it cannot be said that there is “controlling authority” or “a
robust ‘consensus of cases of persuasive authority’” establishing that defendants’
conduct was unconstitutional. al-Kidd, 563 U.S. at 741-742.5 Therefore,
defendants are entitled to qualified immunity and judgment in their favor with

respect to plaintiff's Fourth Amendment claim.

B. The Present Case Is Not “Squarely Governed” by the Decisions
in Brewster and Sandoval

Officers are entitled to qualified immunity where there is no existing precedent
that “squarely governs” the specific facts at issue. Kisela v. Hughes, 138 S. Ct.
1148, 1153 (2018); City of Escondido v. Emmons, 139 S. Ct. 500, 503 (2019). In
Brewster, the driver of the vehicle was not the registered owner. Brewster, 859
F.3d at 1195. In the present case, plaintiff — who had never been issued a license
and whose driving privileges had been suspended — was also the registered owner
of the vehicle. DSF Nos. 1, 2, 3, 46. Thus, the officers had a “community
caretaking” concern that plaintiff would continue unlawfully driving her vehicle
that was not present in Brewster. Furthermore, in the present case, plaintiff's
vehicle was released early, at the conclusion of the storage hearing that was held
pursuant to Vehicle Code section 22852. DSF Nos. 26, 32, 54. In Brewster, the
vehicle was not released before the thirty days had expired. Brewster, 859 F.3d at

1195. In Sandoval, unlike this case, the driver had a valid driver’s license from

 

’ Plaintiff tries to make much out of the fact that defendants are not familiar
with the legal term “community caretaking” in the context of vehicle
impoundments. DSF Nos. 40, 41. These facts are immaterial because law
enforcement officer are not held to the standard of legal scholarship expected of

 

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lawyers, law professors, and judges. Ward v. San Rue County, 791 F.2d 1329,
1332 (9th Cir. 1986), cert. denied, 483 U.S. 1020 (1987).

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Case 2:19-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 25of28 Page ID #:1975

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another jurisdiction. Sandoval, 912 F.3d at 519. The decisions in Brewster and
Sandoval did not address the factual situation presented in this case and therefore
did not clearly establish the law for the situation here. Indeed, plaintiff alleges —
and defendants testified — that they did not understand the Brewster decision to
apply to the situation in the present case. DSF No. 58. Therefore, defendants are
entitled to qualified immunity and judgment in their favor with respect to plaintiff's
Fourth Amendment claim.

In addition, the Brewster and Sandoval decisions do not address the specific
actions taken by the defendants in this case. The Supreme Court’s qualified
immunity jurisprudence requires courts to analyze a defendant’s specific conduct
for purposes of determining clearly established law. See, e.g., Iqbal, 556 U.S. at
677; White v. Pauly, 137 S. Ct. 548, 552 (2017). None of the defendants in this
case violated clearly established law as follows:

(1) The Brewster and Sandoval decisions did not hold that Vehicle Code
section 14602.6 is unconstitutional or that vehicles could not be seized and
removed from the street pursuant to Vehicle Code section 14602.6. Thus, Officer’
Trinidad did not violate clearly established law by seizing plaintiff's vehicle
pursuant to Vehicle Code section 14602.6.

(2) The Brewster and Sandoval decisions did not hold that an officer must
authorize release of a vehicle over the telephone as opposed to when the vehicle
owner appears in person “with proof of ownership and a valid driver’s license,”
See Brewster, 859 F.3d at 1196. Thus, Sergeant Vaughan did not violate clearly
established law via his telephone conversation with plaintiff's attorney.

(3) The Brewster and Sandoval decisions did not hold that officers who release
a vehicle subject to conditions violate the Fourth Amendment. Thus, Lieutenant
Cochran and Lieutenant Zagorski did not violate clearly established law.

(4) The Brewster and Sandoval decisions did not hold that supervisors who

receive a letter from an attorney alleging that the impound of a vehicle was

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Case 2:19-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 26 of 28 Page ID #:1976

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unconstitutional long after the vehicle was released and after the expiration of the
thirty-day impound period can be held liable for the alleged unconstitutional
conduct of his or her subordinates. Thus, Captain Johnson did not violate clearly
established law.

(5) The Brewster and Sandoval decisions did not hold that an officer can be
held liable for an alleged unconstitutional failure of another officer to release a
vehicle. Thus, none of the officers can be held liable for the alleged
unconstitutional conduct on May 14, 2019, when unidentified “CHP personnel”
allegedly refused to release plaintiff's vehicle.

Defendants did not violate clearly established law; therefore, plaintiff's motion
fot partial summary judgment as to her second cause of action should be denied
based on qualified immunity.

CONCLUSION

Plaintiff received the instructions for scheduling a vehicle impound hearing
but delayed scheduling the hearing and instead allegedly appeared at the CHP
office with a licensed driver demanding release of her vehicle on May 14, 2019 —
two days after the vehicle was impounded. Plaintiff provides no admissible
evidence to support this claim, and, moreover, does not allege that any of the
defendants in this case were involved in the May 14 encounter.

Plaintiff’s vehicle was released early after a vehicle storage hearing, but
plaintiff failed to retrieve her vehicle. Plaintiff claims (again with inadmissible
evidence) that she could not afford to recover her vehicle after the hearing. If
plaintiff disagreed with the determination at the hearing and believes that
unidentified CHP officers violated her rights when they refused to return her
vehicle on May 14, 2019, then her remedy was to file a government claim. Her
remedy is not a Fourth Amendment claim against the defendants in this case
because none of them violated her Fourth Amendment rights, and they are all

entitled to qualified immunity.

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Case 2:19-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 27 of 28 Page ID #:1977

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Accordingly, for the foregoing reasons, defendants respectfully request that

the court deny plaintiff's motion for partial summary judgment as to her second

cause of action.

Dated: January 4, 2021

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Opposition to Pltff's Motion for Summary Judgment.docx

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Respectfully submitted,

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Cochran, Joseph Zagorski, Justin
Vaughan, and Paola Trinidad

 
Case 2:19-cv-07599-ODW-JEM Document 99 Filed 01/04/21 Page 28 of 28 Page ID #:1978

CERTIFICATE OF SERVICE

Case Name: Angelica R. Untalan v. Warren A. No. 2:19-cv-07599 ODW (JEMx)
Stanley, et al.

 

 

I hereby certify that on January 4, 2021, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:

DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR PARTIAL
SUMMARY JUDGEMENT

I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.

I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on January 4.
2021, at Burbank, California.

Billy Blankson /s/ Billy Blankson

 

Declarant Signature

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